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                  

                    

                                           

                           

                        

                        

                     

                                                           

                                                           

                              

                                         

                                                       

                             

                                             

                                                

                            

                                                   

                                           

                                        

                                        

                             

                     

                               

                                  




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                                 
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              HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1

                                                                           14:00:49

3         A.    I'm sorry.       I don't think I was clear before.         14:00:53

4               When Gaetan designed the outline of this                   14:00:56

5     board and specified




                                                                           14:01:17

11        Q.    So the original idea was

                             ?                                             14:01:22

13        A.    No.                                                        14:01:22

14        Q.    So then let me ask my question again then.                 14:01:25

15              What is the point of including

                      -- in this chart?                                    14:01:30

17        A.    This information could have been provided to               14:01:36

18    the electrical engineer so that

                                                                    .      14:01:43

20    And if he hasn't



                                                                           14:01:55

23        Q.    Why do you think he did that?                              14:01:57

24        A.    He needs to                                  , that's as   14:02:00

25    good as -- better than an outline of a board which is                14:02:03

                                                                        Page 116

                                  Veritext Legal Solutions
                                       866 299-5127
     Case 3:17-cv-00939-WHA Document 409-5 Filed 05/09/17 Page 11 of 35
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    HIGPEVEXMSR=SYVHIGPEVEXMSRWE]W8LI0M(%6XIEQ W

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              HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1                                                                    16:02:51

2         Q.      Same question for the distance between             16:02:53

3     diodes.                                                        16:02:54

4                 Is that distance

                                      for Fuji?                      16:03:06

6         A.      No.   The linear distance is not




                                                                     16:03:26

10        Q.      Is that also true for the channel spacing for      16:03:32

11    Board      for Fuji?                                           16:03:34

12        MR. JAFFE:      Objection; leading.                        16:03:40

13        THE WITNESS:        I see the same




                                                                     16:04:05

18    BY MR. KIM:

19        Q.      And that's for Board         for Fuji?             16:04:08

20        A.      For Board      on this document, yes.              16:04:10

21        Q.      What about for Board          are the channel      16:04:15

22    spacings                                                       16:04:23

23        A.      No.



                                                                     16:04:36

                                                                  Page 187

                                  Veritext Legal Solutions
                                       866 299-5127
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     1V0IZERHS[WOM[LMPI]SY[IVIEX8]XS

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     %:EKYIP]

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     ]SYER]GSRJMHIRXMEPMRJSVQEXMSR]SYWEMH]SYXLSYKLX

     MX[EWKIRIVEPMRJSVQEXMSR;LEXHMH]SYQIERF]

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    VIKEVHMRKE                                        [EW

    MRJSVQEXMSRXLEX- ZIWIIRSXLIVTPEGIWSRXLI

    -RXIVRIXEW[LMXITETIVWEWTYFPMGP]EZEMPEFPI

    MRJSVQEXMSRMRXIVQWSJEVGLMXIGXSVGSRJMKYVEXMSRJSV

    EPEWIV-JIPXVIGSQQIRHEXMSRWJSVZIRHSVW[SYPHFI

    MRJSVQEXMSREKEMRTYFPMGP]EZEMPEFPIF]HSMRK+SSKPI

    WIEVGLJSVGSQTSRIRXWPMOIXLEX

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    [IVIEWOIHEFSYXGLERRIPWERHXLIGSRZIRMIRGISJ

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              ,-+,0='32*-()28-%0%88362)=7 )=)7320=

     5%RH]SYWMKRIHMX[MXLSYXEGXYEPP]GLIGOMRK

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     5&YX]SYHMHR XGLIGO[LEX]SYHMHXSHE]

     FIJSVI]SYWMKRIHXLMWHIGPEVEXMSRHMH]SY#

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                     XLEXXLI]QEXGLIH

    5(MH]SYORS[[LIR]SYWMKRIH]SYVHIGPEVEXMSR

    [LIXLIVXLIWIEGXYEPP]QEXGLIHIZIV]WMRKPIERKPIERH

    IZIV]WMRKPIFSEVH#

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                                            %RH-GLIGOIHXLI

    MRMXMEP        ERHORI[XLEXXLI][SYPHJSPPS[XLI

    WEQITEXXIVRWS-HMHR XGLIGOIZIV]WMRKPIERKPI

    5,S[QER]SJXLIWIHMH]SYEGXYEPP]GLIGO

    ]SYVWIPJFIJSVI]SYWMKRIH]SYVHIGPEVEXMSR#

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     %-VIQIQFIVEXPIEWXGLIGOMRKXLIMRMXMEP        

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    %-YRHIVWXERH*VSQQ]YRHIVWXERHMRKXLI

    TEXXIVRMWGSRWMWXIRXMRXLIPIXXIVW7SSRGI]SY

    WXEVXXLITEXXIVRTVSTIVP]MX WKSMRKXSJMRMWLSYX

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    GEQIYT[MXL                                           

    FEWIHSR1V&SILQOI WFIEQERKPIWMWR XXLEXVMKLX#

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              ,-+,0='32*-()28-%0%88362)=7 )=)7320=

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    RSXE[EVIXLEXER]FSH]LEHXSXIPPLMQXS                    

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     -J]SY VIEWOMRKHS-ORS[JVSQ[LSQRS-[SYPHWE]

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